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                                  UNITED STATES DISTRICT COURT
                          IN AND FOR THE SOUTHERN DISTRICT OF FLORIDA

                                               MIAMI DIVISION


      HYDENTRA L.P. HLP GENERAL
      PARTNER, INC., a foreign corporation, d/b/a                         Case No.
      METART d/b/a SEXART;                                          1:15-cv-24293-MGC
      HYDENTRA HLP INT. LIMITED, a foreign
      corporation, d/b/a METART d/b/a SEXART;
      and HYDENTRA LP, a foreign corporation,
      d/b/a METART d/b/a SEXART,

           Plaintiffs,

      v.

      ERA TECHNOLOGIES, LTD, a British
      Virgin Islands company, individually and
      d/b/a DRTUBER.COM and d/b/a
      DRTST.COM;
      IGOR KOVALCHUCK, individually and
      d/b/a DRTUBER.COM and d/b/a
      DRTST.COM;
      WEBZILLA INC.;
      WZ COMMUNICATIONS, INC.; and
      John Does 1-20,

           Defendants.


               SUPPLEMENTAL DECLARATION OF KOSTYANTYN BEZRUCHENKO

               Kostyantyn Bezruchenko, being duly sworn, does declare and state as follows:

               1.        I am a Director of both Webzilla, Inc. (“Webzilla USA”) and WZ

      Communications Inc. (“WZ”). Unless otherwise stated, this declaration is based on my personal

      knowledge, my consultation with other personnel of Webzilla USA and WZ, and/or my review

      of Webzilla USA and WZ’s business records. All statements contained in this declaration are




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      true and correct to the best of my knowledge. If called as a witness, I could and would testify as

      to the facts set forth in this declaration.

              2.       I am also a Director of Webzilla, Ltd. (“Webzilla Europe”), a company organized

      under the laws of the Republic of Cyprus, which is operated out of Cyprus. Webzilla USA, WZ,

      and Webzilla Europe are all part of one family of companies.

              3.       I submit this declaration to clarify statements in made in my declaration dated

      April 13, 2016 and filed in the above captioned case as Docket No. 26-1 (my “First

      Declaration”).

              4.       As I explained in my second declaration dated May 12, 2016 filed in this case as

      Docket Number 32-1 (my “Second Declaration”), ERA Technologies Ltd. (“ERA”) contracts for

      its web hosting solutions with Webzilla Europe. Webzilla Europe, in turn, leases IP addresses

      and other services from other members of the Webzilla family of companies which it then

      provides directly to its customers, including ERA Technologies.

              5.       The Webzilla family of companies has a facility in Dallas, Texas, which is

      directly operated by Webzilla USA. In effect, Webzilla USA leases the right to use the servers

      in this data center to Webzilla Europe, which then leases the right to use those servers to

      Webzilla Europe’s customers.

              6.       ERA does, lease, operate and control one server in the Webzilla Dallas facility

      that, to my understanding, acts essentially as a “traffic cop,” directing users trying to access

      ERA’s website to ERA’s servers in Europe. To my understanding, this “traffic cop” server in

      Dallas does not contain the content of the DrTuber.com website, the website’s software or the

      content served through drtst.com.




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             7.      This “traffic cop” server in Dallas non-exclusively services users in the Western

      Hemisphere, Eastern Asia and Oceania. Users from over 20 countries in addition to the United

      States access ERA’s website through the Dallas server, including users in Japan, Taiwan,

      Australia, and Mexico.

             8.      In addition to the other services ERA receives directly from Webzilla Europe (and

      indirectly from the other entities in the Webzilla family of companies), ERA has also engaged

      with the Webzilla family of companies for a Content Delivery Network (a “CDN”). A CDN is a

      globally distributed network of proxy servers deployed in multiple data centers intending to

      serve content to end-users around the world.

             9.      In order to receive the CDN services, ERA contacted the representatives of

      Webzilla Europe in their European offices and requested worldwide CDN services. The

      Webzilla family then made the internal decision of how to provide and implement the requested

      CDN services, and as part of that decision it implemented the CDN with servers in the United

      States (but not in Florida)

             10.     The Webzilla family’s CDN operates out of ten facilities around the world, one of

      which happens to be in the Dallas facility. Other facilities are located in Singapore, Amsterdam,

      London and Frankfurt.

             11.     Similar to the “traffic cop” server in Dallas, the Dallas CDN non-exclusively

      services users in the Western Hemisphere, Eastern Asia and Oceania. Users from over 20

      countries in addition to the United States access ERA’s website through the Dallas server,

      including users in Japan, Taiwan, Australia, and Mexico.

             12.     ERA does not lease, own, operate or control any of these CDN servers.




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      Signed under the pains and penalties of perjury, this ____
                                                             27 day of June, 2016.




                                                          ____________________________
                                                          Kostyantyn Bezruchenko
                                                          On behalf of Webzilla Inc.,
                                                          WZ Communications Inc., and
                                                          Webzilla, Ltd.




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